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            In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                    Filed: June 28, 2022

* * * * * * * * * * * * * * * * * * *
KARL TIEDEMANN, JR,                 *                UNPUBLISHED
                                    *
            Petitioner,             *                No. 19-132V
                                    *
v.                                  *                Special Master Dorsey
                                    *
SECRETARY OF HEALTH                 *                Decision Based on Stipulation; Influenza
AND HUMAN SERVICES,                 *                (“Flu”) Vaccine; Chronic Inflammatory
                                    *                Demyelinating Polyneuropathy (“CIDP”).
            Respondent.             *
                                    *
* * * * * * * * * * * * * * * * * * *

Bridget Candace McCullough, Muller Brazil, LLP, Dresher, PA, for petitioner.
Debra A. Filteau Begley, U.S. Department of Justice, Washington, DC, for respondent.

                          DECISION BASED ON STIPULATION 1

      On January 28, 2019, Karl Tiedemann (“petitioner”) filed a petition in the National
Vaccine Injury Program 2 alleging that as the result of an influenza (“flu”) vaccine administered
on November 18, 2016, he suffered chronic inflammatory demyelinating polyneuropathy
(“CIDP”). Petition at Preamble (ECF No. 1).

         On June 27, 2022, the parties filed a stipulation recommending an award of compensation
to petitioner. Stipulation (ECF No. 71). Respondent denies that the flu vaccine caused
petitioner’s alleged CIDP, or any other injury, or his current condition. Nevertheless, the parties

1
 Because this Decision contains a reasoned explanation for the action in this case, the
undersigned is required to post it on the United States Court of Federal Claims’ website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). This means the Decision will
be available to anyone with access to the Internet. In accordance with Vaccine Rule 18(b),
petitioner has 14 days to identify and move to redact medical or other information, the disclosure
of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such
material from public access.
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-10 to -34 (2012) (“Vaccine Act” or “the Act”). All citations in this Decision
to individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
                                                1
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agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds the
stipulation reasonable and adopts it as the decision of the Court in awarding damages, on the
terms set forth therein.

       The parties stipulate that petitioners shall receive the following compensation:

       (1) A lump sum of $174,925.57 which amount represents compensation for first year
           life care expenses ($23,425.57), pain and suffering ($150,000.00), and past
           unreimbursable expenses ($1,500.00) in the form of a check payable to
           petitioner;

       (2) A lump sum of $381,148.00, which amount represents reimbursement of a lien
           for services rendered on behalf of petitioner by the New Hampshire Medicaid
           Program, in the form of a check payable jointly to petitioner and

           Treasurer
           State of NH-DHHS, 129 Pleasant St.
           Thayer Bldg. - TPL Unit
           Concord, NH, 03301
           NH MID# l 1005304003
           Attn: Michelle Laramee

       (3) An amount sufficient to purchase the annuity contract described in paragraph
           10 of the stipulation, paid to the life insurance company from which the annuity
           will be purchased (the “Life Insurance Company”).

       This amount represents compensation for all damages that would be available under 42
U.S.C. § 300aa-15(a). Stipulation at ¶ 8.

      The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation. 3

       IT IS SO ORDERED.

                                                     s/Nora B. Dorsey
                                                     Nora B. Dorsey
                                                     Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.
                                                2
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